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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                             Case No. 4:12-cr-00177-KGB-2


AHMAD WAHEED                                                                     DEFENDANT

                                           ORDER

       Before the Court is the United States’ motion to dismiss indictment (Dkt. No. 91). Based

upon representations made by the Assistant U.S. Attorney assigned to this case, the United States

requests that both the original indictment (Dkt. No. 1) and the superseding indictment (Dkt. No.

45) be dismissed as to defendant Ahmad Waheed, who is presently charged in Count 1. Pursuant

to Federal Rule of Criminal Procedure 48(a), the original indictment and superseding indictment

are dismissed as to Mr. Waheed.

       SO ORDERED this 14th day of February, 2014.




                                                    ____________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
